Case 1:04-cr-20038-TLL-CEB ECF No. 185, PageID.655 Filed 01/06/06 Page 1 of 2




                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   NORTHERN DIVISION


UNITED STATES OF AMERICA,

                       Plaintiff,
                                                               Case Number 04-20038-BC
v.                                                             Honorable David M. Lawson

DAVID WARREN TICE, JR.,

                  Defendant.
_____________________________________ /

       ORDER ALLOWING THE PARTIES TO FILE ADDITIONAL BRIEFS AND
          ORDERING AGENT CECIL’S PERSONNEL FILE PRESERVED

        This matter is before the Court on the motion by the defendant, David Tice, to suppress

evidence seized pursuant to a search warrant or, alternatively, for a hearing pursuant to Franks v.

Delaware, 438 U.S. 154 (1978). The defendant alleges that the affidavit contains false and

misleading information and the information in the affidavit came from an informant who has not

been shown to be reliable. On January 5, 2006, the Court held a hearing on the motion, and the

parties presented arguments on the record in open court. The parties agreed that the affidavit could

support a finding of probable cause, even if stripped of all allegedly false or misleading information,

if the informant could be considered reliable. The Court determined that a hearing is not necessary

to determine this issue, and the parties sought leave to submit supplemental briefs on the informant’s

reliability.

        On December 22, 2005, the Court ordered the government to produce the personnel file of

FBI Agent John Cecil for an in camera review to determine whether it contained any material that

might be exculpatory or otherwise favorable to the defendant. The file was produced on January 4,

2006. The Court has reviewed the file and determined that it does not contain any such material.
Case 1:04-cr-20038-TLL-CEB ECF No. 185, PageID.656 Filed 01/06/06 Page 2 of 2




The file will be returned to the FBI with orders that it be preserved intact until the expiration of all

appeal periods.

        Accordingly, it is ORDERED that the defendant may file a brief discussing the informant’s

reliability on or before January 26, 2006.

        It is further ORDERED that the government may file a response brief on or before

February 9, 2006.

        It is further ORDERED that Agent Cecil’s personnel file be maintained intact by the

custodian of the file without any deletions throughout the pendency of this case and through the

expiration of all appeals. Additions may be made to the file if they are done in the normal course

of business.

                                                        s/David M. Lawson
                                                        DAVID M. LAWSON
                                                        United States District Judge

Dated: January 6, 2006




                                                 PROOF OF SERVICE

                         The undersigned certifies that a copy of the foregoing order was served
                         upon each attorney or party of record herein by electronic means or first
                         class U.S. mail on January 6, 2006.

                                                           s/Tracy A. Jacobs
                                                           TRACY A. JACOBS




                                                           -2-
